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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

JANE DOE,                               .       CIVIL ACTION FILE
     Plaintiff,                         .       NO. _______________
                                        .
      vs.                               .
                                        .
HEIDI MANNING,                          .       JURY TRIAL DEMANDED,
                                        .       PURSUANT TO FED.R.CIV.P. 38
Defendant.                              .

     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

   (1) The undersigned counsel of record for a party to this action certifies that the

      following is a full and complete list of all parties in this action, including

      any parent corporation and any publicly held corporation that owns 10% or

      more of the stock of a party:

            ● Plaintiff Jane Doe

            ● Defendant Heidi Manning

   (2) The undersigned further certifies that the following is a full and complete

      list of all other persons, associations, firms, partnerships, or corporations

      having either a financial interest in or other interest which could be

      substantially affected by the outcome of this particular case:




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        ● The Wilbanks Child Endangerment and Sexual Exploitation
          (“CEASE”) Clinic at the University of Georgia School of Law
  (3) The undersigned further certifies that the following is a full and complete

     list of all persons serving as attorneys for the parties in this proceeding.

     Counsel for Plaintiff:

     Brian J. Atkinson
     Georgia Bar No. 519769
     Emily “Emma” Hetherington
     Georgia Bar No. 682022
     Melina Lewis
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     Respectfully submitted this 16th day of September, 2021.

                                                    _/s/Brian Atkinson_____
                                                    Brian J. Atkinson
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                    CERTIFICATE OF COMPLIANCE

       This is to certify that the foregoing Certificate of Interested Persons and

 Corporate Disclosure Statement has been prepared with a font and point

 selection approved by the Court in LR 5.1., NDGA. Specifically, the above-

 mentioned pleading was prepared using Times New Roman font of 14-point size.

     Respectfully submitted this 16th day of September, 2021.

                                                  _/s/Brian Atkinson_____
                                                  Brian J. Atkinson
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